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7
                         UNITED STATES BANKRUPTCY COURT
8

9
                         CENTRAL DISTRICT OF CALIFORNIA

10                               SANTA ANA DIVISION
11

12   In re:                                )   Lead Case No.: 8:15-bk-11875 MW
                                           )
13                                         )
     The Little Saigon News                    Chapter 11 Cases
                                           )
14   Incorporated,                         )
                                           )
15             Debtor and                  )
               Debtor in Possession,       )
16                                         )
     _______________________________           Jointly administered with:
                                           )
17   In re:                                )   Case No. 8:15-bk-11876 MW
                                           )
18   Brigitte Laure Huynh,                 )   DEBTORS’ OBJECTION TO NGUOI
                                           )   VIET DAILY NEWS, INC.’S AND DAT
19                                         )
               Debtor and                      HUY PHAN’S DISCLOSURE STATEMENT
                                           )
20             Debtor in Possession.       )
     _______________________________       )
21
                                               DATE:    December 2, 2015
     _ Affects Both Debtors                )   TIME:    10:30 A.M.
                                           )   CTRM:    6C
22                                         )
     X Affects The Little Saigon               PLACE:   411 West Fourth Street
                                           )            Santa Ana, CA 92701
23     News Incorporated Only              )
                                           )
24   _ Affects Brigitte Laure Huynh        )
       Only                                )
25
                Debtors and                )
                                           )
26              Debtors in                 )
                Possession.                )
27                                         )
                                           )
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1          Debtors, The Little Saigon News Incorporated and Brigitte
2    Laure Huynh (“Debtors”), by and through their undersigned
3    counsel, hereby submit this objection (the “Objection”) to Nguoi
4    Viet Daily News, Inc.’s and Dat Huy Phan’s (the “Proponents”)
5    proposed disclosure statement [Docket No. 142] (the “Disclosure
6    Statement”).    In support of this
7          Objection, the Debtors respectfully submit as follows:
8                            I.   PRELIMINARY STATEMENT
9          The Disclosure Statement cannot be approved because it does
10   not contain adequate information to enable creditors to make an
11   informed judgment about the Proponents’ Chapter 11 Plan of
12   Reorganization [Docket No. 141] (the “Plan”).           It is especially
13   important that the Disclosure Statement disclose adequate
14   information regarding the sources of income available to satisfy
15   the proposed payments under the Plan.         This information is
16   essential to enable a creditor to make an informed decision to
17   accept or reject the Plan. Instead, the Disclosure Statement
18   contains inconsistencies regarding the sources of income and
19   lacks any analysis of projected financial means.            As a result,
20   the Disclosure Statement must be denied in its current form.
21          Specifically, the Disclosure Statement (a) fails to
22   provide complete financial statements for the non-debtor
23   business entity and the individual that will purportedly fund
24   payments under the Plan (and nothing appears to bind the non-
25   debtor business entity and the individual to the Plan), (b)
26   fails to provide a complete analysis of the Debtor’s projected
27   post-confirmation monthly payments and (c) improperly classifies
28   claims that are substantially similar.
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1                                  II.    OBJECTION
2          A.    The Disclosure Statement Does Not Provide Adequate
3                Information.
4                A disclosure statement must contain “adequate
5    information,” or “information of a kind, and in sufficient
6    detail . . . that would enable . . . a hypothetical investor of
7    the relevant class to make an informed judgment about the
8    plan[.]” 11 U.S.C. § 1125(a)(1); see also Krystal Cadillac-
9    Oldsmobile GMC Truck, Inc. v. General Motors Corp., 337 F.3d
10   314, 322 (3d Cir. 2003) (“The importance of full disclosure is
11   underlaid by the reliance placed upon the disclosure statement
12   by the creditors and the court.”) (internal quotations omitted);
13   Century Glove, Inc. v. First Am. Bank of New York, 860 F.2d 94,
14   100 (3d Cir. 1988).
15         The Disclosure Statement fails to provide “adequate
16   information” as required by section 1125 of the Bankruptcy Code
17   and should not be approved in its current form.           In determining
18   whether a disclosure statement provides adequate information,
19   section 1125 of the Bankruptcy Code requires that the Court
20   consider “the benefit of additional information to creditors and
21   other parties in interest.”         11 U.S.C. § 1125(a).     Courts have
22   ample discretion to determine what constitutes adequate
23   information.    In re Lower Bucks Hasp., 571 Fed. Appx. 139, 142
24   (3d Cir. 2014).    It is impossible to “overemphasize the . . .
25   obligation to provide sufficient data to satisfy the Bankruptcy
26   Code standard of ‘adequate information.’” Oneida Motor Freight,
27   Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988).
28   Indeed, the “preparing and filing of a disclosure statement is a
                                              6
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1    critical step in the reorganization of a Chapter 11 debtor.”
2    Id.   As such, a disclosure statement “must clearly and
3    succinctly inform the average unsecured creditor what it is
4    going to get, when it is going to get it, and what contingencies
5    there are to getting its distribution.”           In re Ferretti, 128
6    B.R. 16, 19 (Bankr. D.N.H. 1991).
7                As detailed below, the Disclosure Statement fails to
8    provide adequate information with respect to, among other
9    things: (a) fails to provide complete financial statements for
10   the Debtor, the non-debtor business entity and the individual
11   that will purportedly fund payments under the Plan (and nothing
12   appears to bind the non-debtor business entity and the
13   individual to the Plan), (b) fails to provide a complete
14   analysis of the Debtor’s projected post-confirmation monthly
15   payments and (c) improperly classifies claims that are
16   substantially similar creating an illegal discrimination.
17                    1.     The Disclosure Statement Does Not Contain
18                           Adequate Information Regarding the Financial
19                           Condition of the Debtor and Plan Proponents.
20            In an effort to demonstrate feasibility, the Disclosure
21   Statement includes various conclusory statements that the Plan
22   will be “. . . implemented . . . and funded from: (1) the
23   operations and assets of the Debtor . . . (2) the operations and
24   assets and available Cash of the Reorganized Debtor and (3) . .
25   . the NV Creditors’ Funding Commitment” and more specifically
26   “The NV Creditors are well-capitalized and prepared to satisfy
27   any financial requirements of the Reorganized Debtor or to take
28   other necessary action without the need for reorganization of
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1    the Reorganized Debtor.”       Disclosure Statement at Part VI pg. 20
2    ln. 15-8 and Part XI pg. 31 ln. 25-8 and pg. 32 ln. 1.             Other
3    than these few conclusory statements, the Disclosure Statement
4    contains no substantive financial information.           At a minimum,
5    the Disclosure Statement should contain projections and full
6    financial statements (income statement, balance sheet, and cash
7    flow statement) for the past 2 years and the next 5 years
8    (projected) for the Debtors, Nguoi Viet Daily News, Inc. and Dat
9    Huy Phan.    The Proponents do not offer one shred of evidence
10   that the Debtor or they can afford any of the payments proposed
11   under the Plan. Creditors are left wondering how, when and if
12   the payments promised under the Plan will ever be made.
13            Accurate financial projections are a key component of
14   analyzing whether a Plan is feasible. The Disclosure Statement
15   does not contain any financial projections for the Debtor or the
16   Plan proponents Nguoi Viet Daily News, Inc. and Dat Huy Phan.
17   Accordingly, the Disclosure Statement does not contain adequate
18   information to allow a creditor to make an informed decision to
19   accept or reject the Plan.
20            Section 1129(a)(11) requires the plan proponent to show
21   concrete evidence of a sufficient cash flow to fund and maintain
22   both its operations and obligations under the plan.            In re
23   Nelson, 84 B.R. 90, 93 (Bankr.W.D.Tex.1988).           This requirement
24   prevents the confirmation of visionary schemes which promise
25   creditors and interest holders more under a proposed plan than
26   the proponent can possibly provide.          Matter of Pizza of Hawaii,
27   Inc., 761 F.2d 1374, 1382 (9th Cir.1985).          The feasibility
28   requirement mandates that the plan proponent offer concrete
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1    evidence of sufficient cash flow to fund and maintain both its
2    operations and its obligations under the plan.           Coones v. Mut.
3    Life Ins. Co. of N.Y., 168 B.R. 247, 255 (D.Wyo.1994), aff'd, 56
4    F.3d 77 (10th Cir.1995).
5             Because the success of the Plan proposed by the
6    Proponents is clearly contingent on the Proponents’ Funding
7    Commitment, in order to provide adequate information, the
8    Proponent must disclose information regarding Nguoi Viet Daily
9    News, Inc.’s and Dat Huy Phan’s financial condition that shows
10   their ability to make the promised funding.           See In re
11   Repurchase Corp., 332 B.R. 336, 343 (Bankr.N.D.Ill.2005)
12   (declaration that individual would contribute needed capital to
13   the debtor was “sheer speculation and wishful thinking” in the
14   “absence of any form of corroboration or contract from the
15   alleged sources of the funds” and therefore could not satisfy
16   feasibility requirement for plan confirmation); In re Wiston
17   XXIV, Ltd. P'ship, 153 B.R. 322, 327–28 (Bankr.D.Kan.1993)
18   (holding that plan was not feasible in spite of general
19   partner's promise to contribute $100,000 because the general
20   partner showed no proof he could actually make the payment); In
21   re Ralph C. Tyler, P.E., P.S., Inc., 156 B.R. 995
22   (Bankr.N.D.Ohio 1993) (plan not feasible due to lack of evidence
23   concerning financing or commitments to provide such financing).
24            The Proponents allege that the Debtor merely has
25   approximately $60,000.00 cash on hand that could be used to make
26   the payments proposed in the Plan, assuming this true, it
27   appears that a large part of the distributions proposed under
28   Plan would be paid by the Proponents.         However, the Disclosure
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1    Statement is completely lacking of any information regarding the
2    Proponent’ financial ability to make the Funding Commitment, in
3    any amount.    In fact, there is not even a declaration under
4    penalty of perjury by the plan Proponents asserting that they
5    have the financial ability make the payments proposed under the
6    Plan.   The Disclosure Statement contains no information
7    whatsoever regarding Nguoi Viet Daily News, Inc.’s and Dat Huy
8    Phan’s finances.
9             The Proponents’ liquidation analysis concludes that the
10   “Proceeds Available For Non-Priority Unsecured Claims” is in the
11   range of $46,610.15-$1,224,302.45.            Disclosure Statement Exhibit
12   “2” at pg. 2.    Thus at a minimum, the Disclosure Statement
13   should disclose the Proponents’ financial ability to pay
14   creditors the sums described in the liquidation analysis.
15   Likewise, the Proponents assert they intend on paying all
16   allowed unsecured creditors in full, excluding insiders’ claims.
17   Assuming all of the unsecured creditors’ claims are allowed and
18   not subordinated, including those of the insiders, the total
19   unsecured creditor body could be has high as $1,968,697.46.
20   Disclosure Statement Exhibit “2” pg. 3 and 5.           The Disclosure
21   Statement is completely void of any information regarding the
22   Proponents ability to make plan payments in any amount, much
23   less $1,968,697.46.
24            Information regarding the Proponents’, their business
25   background and their assets and their liabilities is necessary
26   for the creditors to understand the impact of the purported
27   Funding Commitment to the Reorganized Debtor.           Without this
28   information, the unsecured creditors are unable to determine
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1    whether to accept or reject the Plan.         Due to the complete lack
2    of financial evidence of the Proponents, it is simply impossible
3    for creditors to make an informed decision regarding the
4    acceptance or rejection of the Plan.
5                     III. DISCLOSURE STATEMENT DESCRIBES A
6                  PATENTLY UNCONFIRMABLE PLAN THAT MANIPULATES
7                     THE CLASSIFICATION OF UNSECURED CLAIMS
8          A.     Multiple Classes Of Unsecured Creditors Are Prohibited
9                 Where The Purpose Is To Manipulate Votes.
10              The Disclosure Statement describes the Plan where the
11   Proponents are the sole unsecured creditors in “Class 3”, a
12   class that is impaired and the only class of creditors entitled
13   to vote to accept or reject the Plan.         Inexplicably and
14   illegally, the Proponents place themselves in a class separate
15   from other substantially similar unsecured claims.            This
16   gerrymandering of the classes of claims guarantees that the
17   Proponents can manipulate the vote to ensure confirmation of
18   their Plan.
19              In Oxford Life Ins. Co. v. Tucson Self-Storage, Inc. (In
20   re Tucson Self-Storage), 166 B.R. 892 (9th Cir. BAP 1994), the
21   Court agreed with the “one clear rule” discussed by Phoenix Mut.
22   Life Ins. Co. v. Greystone III Joint Venture (In re Greystone
23   III), 995 F.2d 1274, 1278 (5th Cir.1991), that a plan proponent
24   cannot “classify similar claims differently in order to
25   gerrymander an affirmative vote on a reorganization plan.”
26   Where a plan separately classifies similarly-situated creditor
27   claims . . . in order to create a friendly class to vote for the
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                                              11
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1    plan, the “gerrymandering” of the claims constitutes lack of
2    good faith.    In re Barakat, 99 F.3d 1520, 1525 (9th Cir.1996).
3          In the Plan, the Proponents created three classes of
4    general unsecured creditors, Classes 2, 3 and 4, although the
5    claims are all unsecured creditors and have the same priority in
6    a Chapter 7 liquidation.       Class 2 was created in a way that,
7    although composed of general unsecured claims, like those of the
8    Proponents and Class 4, the class is unimpaired and thus not
9    entitled to vote on the Plan.        Class 3, the Proponents’ class,
10   is impaired and thus can vote to reject or approve the Plan, the
11   only class to have this privilege, will undoubtedly vote to
12   approve the Plan it is proposing.         Thus, the Creditor’s created
13   a “friendly” class that will vote for the plan, controlled and
14   composed solely by them.       Finally, the claims of Debtor Huynh
15   and other insider claims are in Class 4, in a subordinated
16   class, and deemed to reject the Plan; not entitled to vote.
17            With careful, yet impermissible, gerrymandering of the
18   classes of claims, the Proponents created a situation where they
19   are the only creditors permitted to vote on the Plan.             The very
20   Plan that proposes that the Debtor’s main competitor, the
21   Proponents, takes over the Debtor’s business and ousts its
22   management.
23            Had Proponents correctly classified all of the claims,
24   Classes 2, 3 and 4 would be in one class of general unsecured
25   creditors, seriously compromising the Proponent’ chance of
26   confirming their Plan.      The intentional misclassification of
27   claims described in the Disclosure Statement offered in
28   conjunction with the Plan, describes a plan that is
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1    unconfirmable.     To approve the Disclosure Statement and proceed
2    to plan confirmation would be an unnecessary waste of resources
3    due to its unconfirmability.
4               “[W]here a plan is on its face nonconfirmable, as a
5    matter of law, it is appropriate for the court to deny approval
6    of the disclosure statement describing the nonconfirmable plan.”
7    In re Arnold, 471 B.R. 578, 586 (Bankr. C.D. Cal. 2012) citing
8    In re Silberkraus, 253 B.R. 890, 899 (Bankr.C.D.Cal.2000).             “If,
9    on the face of the plan, the plan could not be confirmed, then
10   the Court will not subject the estate to the expense of
11   soliciting votes and seeking confirmation.”           In re Arnold, 471
12   B.R. 578, 586 (Bankr. C.D. Cal. 2012) citing In re Pecht, 57
13   B.R. 137, 139 (Bankr.E.D.Va.1986).
14         B.     Subordination Of Debtor Huynh’s Claim And Of Other
15                Insiders Is Not Appropriate.
16         The Disclosure Statement provides no legal basis for the
17   subordination of Debtor Huynh’s and other insiders’ claims to
18   Class 4.     Buried in paragraph 9 of Exhibit “2” to the Disclosure
19   Statement, the Proponents justify the subordination alleging
20   “[t]he NV Creditors believe that a Chapter 7 Trustee would . . .
21   subordinate these “Insider” claims . . .          Accordingly . . .
22   these claims will be subordinated.”           This discriminatory
23   treatment of Debtor Huynh’s and other insider claims is not fair
24   and equitable because of the Proponents gerrymandering of
25   classes in the Plan and Disclosure Statement.
26         Equitable subordination is an unusual remedy which should
27   be applied only in limited circumstances.           Holt v. Federal
28   Deposit Insurance Corp. (In re CTS Truss, Inc.), 868 F.2d 146,
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1    148-49 (5th Cir.1989).      Equitable subordination is remedial, not
2    penal, and should be applied only to the extent necessary to
3    offset the specific harm that the creditors suffered on account
4    of the inequitable conduct.       Trone v. Smith (In re Westgate-
5    California Corp.), 642 F.2d 1174, 1178 (9th Cir.1981).             Mere
6    status as an insider is not sufficient grounds for
7    subordination.     Matter of Fabricators, Inc., 926 F.2d 1458, 1465
8    (5th Cir. 1991).
9          The Disclosure Statement offers creditors no information or
10   reasoning why Debtor Huynh’s and the other insider claims must
11   be subordinated due to some alleged yet undisclosed inequitable
12   conduct by the insiders.       Thus, due to the to the lack of any
13   evidence of inequitable conduct by the insiders it is unlikely
14   the claims of Debtor Huynh and other insiders would be
15   subordinated and these claims would have to be included in Class
16   2, the general unsecured creditor class.
17         The purported subordination of Debtor Huynh’s and other
18   insider unsecured claims is an unfair discrimination of similar
19   claims; Class 2 receives a 100% dividend on its claim, Class 3
20   receives 100% of the equity interests of the Reorganized Debtor
21   and Class 4 (subordinated) unsecured creditors receive nothing.
22         Discrimination between classes must satisfy four criteria
23   to be considered fair under 11 U.S.C. § 1129(b): (1) the
24   discrimination must be supported by a reasonable basis; (2) the
25   debtor could not confirm or consummate the Plan without the
26   discrimination; (3) the discrimination is proposed in good
27   faith; and (4) the degree of the discrimination is directly
28   related to the basis or rationale for the discrimination.             In re
                                              14
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1    Ambanc La Mesa Ltd. P'ship, 115 F.3d 650, 656-57 (9th Cir. 1997)
2    citing In re Wolff, 22 B.R. 510, 511-12 (9th Cir. BAP 1982).
3    Moreover, separate classification for the purpose of securing an
4    impaired consenting class under § 1129(a)(10) is improper. In re
5    Ambanc La Mesa Ltd. P'ship, 115 F.3d 650, 656-57 (9th Cir. 1997)
6    citing In re Greystone III Joint Venture, 995 F.2d 1274, 1279
7    (5th Cir.1991), cert. denied, 506 U.S. 821, 113 S.Ct. 72, 121
8    L.Ed.2d 37 (1992), and cert. denied, 506 U.S. 822, 113 S.Ct. 72,
9    121 L.Ed.2d 37 (1992).      Here, the Proponents created Class 3,
10   the sole impaired consenting class of which they are the sole
11   creditors, this is precisely what the Ambanc court prohibited.
12               As the entirety of the Disclosure Statement is
13   completely lacking of any information, analysis, facts or
14   evidence justifying the disparate treatment between unsecured
15   creditors, the subordination of Debtor Huynh’s claims and of
16   other insiders is not appropriate.
17               IV.   ON ITS FACE PLAN DESCRIBED BY DISCLOSURE
18               STATEMENT IS NOT FAIR AND EQUITABLE TO CLASS
19                      OF INTERESTS AND IS UNCONFIRMABLE
20               The   extinguishment    of   Huynh’s   interest    can   only    be
21   accomplished after the Proponents prove there is no value left
22   for Huynh after payment of other creditors.
23               To obtain confirmation of a reorganization plan that
24   completely extinguishes equity interests, the plan's proponent
25   must prove that there is no value left once the creditors have
26   had their turn.     In re Oneida Ltd., 351 B.R. 79, 87
27   (Bankr.S.D.N.Y.) citing Protective Comm. for Indep. Stockholders
28   of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 441
                                              15
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1    (1968).   This proof must take the form of a “going-concern”
2    valuation of the reorganized company—an estimate of “the present
3    worth of [its] future anticipated earnings”—as of the day the
4    plan would take effect.       In re Dave's Detailing, Inc., No. 13-
5    08077 (RLM), 2015 WL 4601726, at *16 (Bankr. S.D. Ind. July 30,
6    2015) citing Protective, 390 U.S. at 442–43.           (“In Chapter 11
7    cases, a going-concern valuation of the reorganized debtors is a
8    necessary step in applying the ‘fair and equitable’ standard to
9    ... a class of interests in a cram down.”) (emphasis omitted),
10   rev'd on other grounds, 520 U.S. 953 (1997); Collier on
11   Bankruptcy ¶ 1129.03[4][a][ii].
12               The Proponents offer no analysis of the going concern
13   value of the Debtor’s business.        In fact, the Proponents offer
14   no valuation of any of the Debtor’s assets, business,
15   tradenames, claims or rights; for these reasons alone the
16   Disclosure Statement is deficient on it face and the underlying
17   Plan unconfirmable.
18                                 V.    CONCLUSION
19         WHEREFORE, for the reasons stated above, the Debtors
20   respectfully requests that the Court deny approval of the
21   Disclosure Statement.
22

23   Dated:    November 16, 2015         PEÑA & SOMA, APC
24
                                   By    __/S/ LEONARD PEÑA         ______
25
                                         LEONARD PEÑA
26                                       Attorneys for Debtors and Debtors
                                         in Possession
27

28
                                              16
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 In re:                                                                                                                         CHAPTER: 11
            THE LITTLE SAIGON NEWS INCORPORATED
                                                                                                              Debtor(s).        CASE NUMBER: 8:15-bk-11875




                                                 PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
PEÑA & SOMA, APC
402 South Marengo Ave., Suite B
Pasadena, CA 91101

A true and correct copy of the foregoing document entitled (specify): DEBTORS' OBJECTION TO NGUOI VIET DAILY NEWS,
INC.’S AND DAT HUY PHAN’S DISCLOSURE STATEMENT                    will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 11/16/2015 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:

Nancy S Goldenberg on behalf of U.S. Trustee United States Trustee (SA) nancy.goldenberg@usdoj.gov
David I Hurwitz on behalf of Defendant Michael Nguyen dih@birdmarella.com, dh@birdmarella.com
Douglas G Levin on behalf of Creditor Nguoi Viet Daily News, Inc. DLevin@gibsondunn.com
Douglas G Levin on behalf of Creditor Dat Huy Phan DLevin@gibsondunn.com
Douglas G Levin on behalf of Creditor Vinh Hoang DLevin@gibsondunn.com
Craig Millet on behalf of Creditor Nguoi Viet Daily News, Inc. cmillet@gibsondunn.com,
                                             pcrawford@gibsondunn.com;cmillet@gibsondunn.com
Craig Millet on behalf of Creditor Dat Huy Phan cmillet@gibsondunn.com,
                                             pcrawford@gibsondunn.com;cmillet@gibsondunn.com
Craig Millet on behalf of Creditor Vinh Hoang cmillet@gibsondunn.com,
                                             pcrawford@gibsondunn.com;cmillet@gibsondunn.com
R G Pagter, Jr. on behalf of Creditor Marie To gibson@ppilawyers.com, ecf@ppilawyers.com
R G Pagter, Jr. on behalf of Creditor Paul Huynh gibson@ppilawyers.com, ecf@ppilawyers.com
Leonard Pena on behalf of Debtor The Little Saigon News Incorporated lpena@penalaw.com,
                                                           penasomaecf@gmail.com
Leonard Pena on behalf of Debtor Brigitte Laure Huynh lpena@penalaw.com, penasomaecf@gmail.com
Leonard Pena on behalf of Plaintiff The Little Saigon News Incorporated lpena@penalaw.com,
penasomaecf@gmail.com
United States Trustee (SA)                                 ustpregion16.sa.ecf@usdoj.gov
David R. Weinstein on behalf of Interested Party David R. Weinstein dweinstein@weinsteinlawfirm.net
David R. Weinstein on behalf of Interested Party Joseph Le dweinstein@weinsteinlawfirm.net
David R. Weinstein on behalf of Interested Party Stephen B. Hollidaydweinstein@weinsteinlawfirm.net
   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 11/16/2015 , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.
Honorable Judge Mark S. Wallace
United States Bankruptcy Court
411 West Fourth Street, Suite 6135 / Courtroom 6C
Santa Ana, CA 92701-4593
                                                                             Service information continued on attached page

                         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                                                   9013-3.1.PROOF.SERVICE
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 In re:                                                                                                                          CHAPTER 11
          The Little Saigon News Incorporated
                                                                                                               Debtor(s).        CASE NUMBER 8:15-bk-11875



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

                                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
11/16/15                    Leonor Arteaga                                                               /s/ Leonor Arteaga
Date                        Printed Name                                                                 Signature




                          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                                                   F 9013-3.1
